                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA



UNITED STATES OF AMERICA                             )
                                                     )       No. 1:06-cr-30-002
vs.                                                  )
                                                     )       JUDGE EDGAR
J. CARMEN IBARRA-OROZCO                              )       MAGISTRATE JUDGE LEE



                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Three; (2) accept

Defendant’s plea of guilty to Counts One and Three of the Indictment; (3) adjudicate Defendant

guilty of the charges set forth in Counts One and Three of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter [Doc. No. 77]. Neither party filed a timely objection to the

report and recommendation. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge’s report and recommendation [Doc. No. 77] pursuant to 28 U.S.C. § 636(b)(1) and

ORDERS as follows:

       (1) Defendant’s motion to withdraw his not guilty plea to Counts One and Three is

GRANTED;

       (2) Defendant’s plea of guilty to Counts One and Three of the Indictment is ACCEPTED;

       (3) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

Three of the Indictment;




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       (4) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

       (5) Defendant SHALL REMAIN in custody until sentencing in this matter which is

scheduled to take place on Tuesday, April 10, 2007 at 9:30 a.m.

       SO ORDERED.

       ENTER this the 21st day of February, 2007.



                                            /s/ R. Allan Edgar
                                          R. ALLAN EDGAR
                                    UNITED STATES DISTRICT JUDGE




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